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V.                                              2255 FIN AL O RD ER

JO SEPH R O D NEY BR O O K S.                   By:Sam uelG.W ilson
                                                United StatesD istrietJudge

        Forthe reasonsstated in theaccom panying M em orandum Opinion,itishereby

                              O RD ER ED and AD JUD G ED

thatBrooks'28U.S.C.j2255 motion (DocketNo.192)isDISM ISSED withoutprejudiceas
successive;and thiscaseisSTRICKEN from theactivedocketofthecourt.

       Further,finding thatBrookshasfailed to make the requisite substantialshowing ofthe

denialofaconstitutionalrightasrequiredby28U.S.C.j2253(c),acertificateofappealabilityis
DEN IED .

       The Clerk is directed to send copiesofthisOrderand the accompanying M em orandum

Opinion to the parties.

       ENTER: ThisDecember 15,2011.                                .,
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                                                U nited StatesD istrictJudge
